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IN THE SUPERIOR COURT FOR THE STATE
FOURTH JUDICIAL DISTRICT AT FAIRBANKS

 

 

M COBDEN, and )
\A;RONE CoBDEN, ) _ _ v .
. ) E»ELEE m the irst ors-arts
Plaintiffs ) 111ng §§ §\l&$§(& FCLSYH'? E}YS'§?'FFT‘
> net 212013
vs. )
) ' §§ if DB'Q‘J¢F
SAFEWAY, INC., )
SAFEWAY FS, )
SAFEWAY, INC. 405, and ) ~
SAFEWAY WEST GAS. )
` ) Case No. 4FA-13- 2@\ CI
Defendants. )
)
COMPLAINT

COl\/IE NOW Plaintit`fs, RICHARD COBDEN and CARONE COBDEN, by
and through their attorney, The LaW Oftiees of Williarn R. Satterberg, Jr., and hereby
lcoinplain against the Defendants, SAFEWAY, INC., SAFEWAY FS, SAFEWAY,
INC. 405, and SAFEWAY WEST GAS as folloWs:

l. At all times relevant to this cause, Plaintiff, Richard Cobden, and Richard’s
Wife, Plaintiff, Carone Cobden,_have been residents of Fairbanl<s, Alaska, in the Fourth
J udicial District.

2. Defendants, Safeway, lnc. and Safeway, lnc. 405, upon information and
belief, are duly licensed corporations doing business Within the State of»Alasl<a, Fourth

Judicial District at Fairbanks, at all times pertinent hereto.

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3. Defendants, Safevvay, lnc., and/or SafeWay lnc. 405, upon information and
belief, oWn, operate, and control the building and fuel pumps located at 1385
University Avenue, Fairbanks, Alaska, and operate at that location a fuel station under
the name Safevvay FS and/or Safeway West Gas.

4. Defendants had a duty to maintain the building and fuel pump area in a
reasonably safe condition, i`n view of the accumulating ice and likelihood of injury
from patrons slipping on icy areas.

5. On or about November 23, ZOll, Plaintiff, Richard Cobden, Was at the
Safevvay fuel station to fill up his vehicle. Richard Was returning to the driver’s side
door of his vehicle, When he slipped on an icy, snoWy, and slick surface, causing
Richard to fall and fracture his hip.

6. Defendants failed to exercise reasonable care to protect business invitees
from icy surface conditions, failed to take steps to remedy the dangerous conditions in
the fuel pump area, and failed to take reasonable action to Warn or otherwise notify
patrons of the dangerous conditions in the fuel pump area.

7 7. Defendants had a duty to properly maintain the fuel pump area and provide
safe premises free from hazardous and dangerous conditions Defendants negligently
breached that duty by failing to render the premises safe for use.

8. Defendants also had a duty to Warn patrons of unsafe conditions
Defendants negligently breached that duty by failing to Warn patrons of the icy,

snowy, and slick surfaces that Were in the fuel pump area at the time Richard fell.

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9. As a result of Defendants’ breaches and negligence, Richard Cobden
suffered, and continues to suffer damages including past, present, and future physical
injuries, medical expenses loss of income, pain and suffering, emotional distress, loss
of enjoyment of life, loss of society, and other damages in an amount in excess of
$lO0,000, to be proven more specifically at the trial of this matter.

10. As a direct and proximate result of the Defendants’ breach of their duty of
care, Plaintiff, Carone Cobden, suffered a loss of society, Services, love, affection, and
consortium as a result of the injuries to her husband, Richard Cobden.

WHEREFORE Plaintiffs pray for judgment against the Defendants in an
amount in excess of $lO0,000.00, to be proven more specifically at the trial of this
cause, and for their reasonable costs, interest, and attorney’s fees occasioned thereby,
and for any such other relief as deemed just and equitable in the premises

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DATED this _gl_ day er octob@r, 2013

THE LAW OFFICES OF WlLLlAl\/l R. SATTERBERG, JR.

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Wnnam R. saaea§er'g, Jr.
ABA NO. 7610126
Attorney for Plaintiff

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